  Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 1 of 72 Page ID #:11




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                               Operating Company,Inc.sand            n~ ~ ~ Z      0~       ~     t~~
               w          12   National "Tobacco Company, Lam. ~t4t~                    9       0`Y
          o,                                       UNI~'ED STATES DISTRICT COURT
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                    14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                          16   NORTH ATLANTIC OPERATING                     CASE NO.
                               COMPANY,INC.; and NATIONAL
                          t~   TOBACCO COMPANY,L.P.,                        COMPLAINT
                          18                           Plaintiffs,          DEMAND FOR JURY TRIAL
                          19
                                                                            FILED UNDER SEAL
                          20   LA PRICE CHECK,LLC;                          PURSUANT TO 15 U.S.C.§ 1116
                               KHAIRUNNISH RAJAIVI; NEW
                          21   RAINBOW INC.; SHAUKAT ALI
                               RAJANI;IVIJ WHOLESALE USA INC.;                                  FILED
                          22   and JOHN DOES #1 thru #99, inclusive,                 CLERK, U.S. DISTRICT COURT


                          23                           Defendants.
... __,                                                                                 AUG 10 2017
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                                                                                   CENTRAL DISTRICT OF CALIFORNIA
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                                                                                     BY: ___________________ DEPUTY
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                                                                             CLERK, U.S. DISTRICT COURT



                                                                                        AUG 10 2016
                1   VENABLE LLP                                                     CENTRAL DISTRICT OF CALIFORNIA
     a,             Sharoni S. Finkelstein (SBN 271829)                                        RS
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               11   Attorneys for Plaintiffs North Atlantic
     0a             Operatin Company,Inc. and
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               12   National~obacco Company, L.P.
a.
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               13                        UNITED STATES DISTRICT COURT
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                    NORTH ATLANTIC OPERATING
                    COMPANY, INC.; and NATIONAL
                    TOBACCO COMPANY, L.P.,
                                                                 ~`'~~~f~7 'O 5 9 2O -v~p
                                                                   COMPLAINT
               18                             Plaintiffs,           DEMAND FOR JURY TRIAL
               19
                                                                    FILED UNDER SEAL
               20   LA PRICE CHECK, LLC;                            PURSUANT TO 15 U.S.C. § 1116
                    KHAIRUNNISH RAJANI; NEW
               21   RAINBOW, INC.; SHAUKAT ALI
                    RAJANI; MJ WHOLESALE USA INC.;
               22   and JOHN DQES # 1 thru #99, inclusive,
               23                             Defendants.
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                                                                                                     COMPLAINT
              Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 3 of 72 Page ID #:13




                               Plaintiff North Atlantic Operating Company,Inc.("NAOC"), and its
                   ~~    affiliated company, Plaintiff National Tobacco Company, L.P.("NTC")(together,
                   3    "North Atlantic"), by and through their attorneys, for their complaint against
                   4    Defendants LA Price Check, LLC; Khairunnish Rajani; New Rainbow, Inc.;
                   5    Shaukat Ali Rajani; MJ Wholesale USA Inc., and John Does #1 thru #99
                   6    (collectively,"Defendants"), allege as follows:
                   7                                  The Nature of the Action
                   8           1.    This is an anti-counterfeiting action against those who manufacture,
                   9    sell, or otherwise distribute counterfeit versions of North Atlantic's highly popular
                  10    ZIG-ZAGS cigarette paper products.

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     0            11           2.    As detailed below, Defendants have been distributing purported ZIG-
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     ~.           12    ZAGS cigarette paper products in packaging bearing counterfeit versions of North
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aill om
     N Q o        13     Atlantic's ZIG-ZAGS and NAOCOR Trademarks, and unauthorized reproductions
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                  14    of North Atlantic's NAOCO Copyright(as defined herein). The purported ZIG-
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 ~, ~ o           15    ZAG~ products are not distributed by North Atlantic, and they are inferior to
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                  16    North Atlantic's ZIG-ZAGS cigarette paper products and appear to be sold
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                  17    without any known quality control standards or authorization.
                  18           3.    Defendants' products are not authentic, but, in fact, are counterfeit
                  19    products, housed in cheap knock-off packaging, that can be distinguished from
                  20    authentic products once one knowns what to look for. Ordinary consumers,
                  21    however, will mistakenly purchase the fake knockoffs at the point of sale.
                  22           4.    North Atlantic has collected and analyzed purported ZIG-ZAGS

                  23    cigarette paper products sold by Defendants and confirmed, in each case, that the
                  24    products are counterfeit and bear counterfeit ZIG-ZAGS and NAOC~
                  25    Trademarks. It is impossible for North Atlantic to verify the conditions under
                  26    which these counterfeit products are manufactured, stored, and sold —and thus,
                  27    North Atlantic has irretrievably lost the ability to control the quality and relative
                  28    safety of products sold under its brands.

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                                                                                                     COMPLAINT
          Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 4 of 72 Page ID #:14




               1         5.     North Atlantic has spent significant financial and human capital
               2   investigating Defendants, making controlled purchases (also called "controlled
               3   buys"), and documenting Defendants' counterfeiting. As detailed below, North
              4    Atlantic believes Defendants in this action are large-scale distributors responsible
               5   for selling at least six-hundred and seventy-nine (679) cartons of counterfeit ZIG-
              6    ZAGOR cigarette paper products in the United States—and these are just the sales
               7   that North Atlantic knows about.
               8         6.     Defendants also appear to be willful counterfeiters who used the
              9    phrasing "counterfeit" and "genuine" to refer to ZIG-ZAGS cigarette paper
              10   products sold to undercover investigators. Defendants also refused to issue
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    0         11   receipts (or issued falsified receipts), apparently to avoid detection for
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  w           12   counterfeiting. Defendants stated they had access to thousands more cartons of
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a Qo          13   "counterfeit" ZIG-ZAGS Orange at below-market prices. Defendants thus know
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          N   14   they are counterfeiting and do not intend to stop.
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~; ~ ~,       IS         7.     Thus, North Atlantic brings this action for:
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  "           16                    A. Trademark infringement, in violation of Section 32 of the
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              17                       Lanham Act(15 U.S.C. § 1114);
              18                   B. False designation of origin, unfair competition, and trademark
              19                       and trade dress infringement, in violation of Section 43(a) of
              20                       the Lanham Act(15 U.S.C. § 1125(a));
              21                    C. Copyright infringement, in violation of the Copyright Act of
              22                       1976(17 U.S.C. §§ 101 et seq.);
              23                   D. Unfair competition under California law; and
              24                   E. Common law unfair competition.
              25   ///

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                                                                                                COMPLAINT
            Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 5 of 72 Page ID #:15



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                2                                       The Plaintiffs
                3          8.     NAOC is a corporation organized and existing under the laws ofthe
                4   State of Delaware with an office and principal place of business at 5201
                5   Interchange Way, Louisville, Kentucky 40229.
                6          9.     NTC is a limited partnership organized and existing under the laws of
                7   the State of Delaware with an office and principal place of business at 5201
                8   Interchange Way, Louisville, Kentucky 40229.
                9          10.    Together, NAOC and NTC are the exclusive U.S. licensees of the
               10   world-famous ZIG-ZAGS brand cigarette paper products, and ZIG-ZAGS
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     0M        11   Trademarks (defined below). They have full right and authority to bring this
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     ~W ~      12   lawsuit to enforce the ZIG-ZAGS intellectual property rights, as well as their own
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a         Qo   13   rights in and to the NAOC~ Trademarks and Copyright (defined below).
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 ~ ?~`,        15                                      The Defendants
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               16          1 1.   Defendant LA Price Check, LLC is a California limited liability
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               17   company with a registered address and principal place of business at 305 East 4th
               18   Street, Los Angeles, California 90013.
               19          12.    Upon information and belief, Defendant LA Price Check, LLC is
               20   ~ involved in the willful sale and distribution of counterfeit ZIG-ZAGS cigarette
               21   paper products to wholesalers, retailers, and others in the greater Los Angeles area
               22   and nationwide.
               23          13.    Defendant Khairunnish Rajani is an individual residing in California
               24   with an address of 305 East 4th Street, Los Angeles, California 90013.
               25          14.    Upon information and belief, Defendant Khairunnish Rajani is an
               26   owner and officer of Defendant LA Price Check, LLC, and is involved in the
               27   willful sale and distribution of counterfeit ZIG-ZAGS cigarette paper products to
               28   wholesalers, retailers, and others in the greater Los Angeles area and nationwide.

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                                                                                               COMPLAINT
         Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 6 of 72 Page ID #:16




              1          15.    Defendant New Rainbow, Inc. is a California company with a
             2    registered address and principal place of business at 305 East 4th Street, Los
              3   Angeles, California 90013.
             4           16.    Upon information and belief, Defendant New Rainbow,Inc. is
              5   ~ involved in the willful sale and distribution of counterfeit ZIG-ZAGS cigarette
             6    paper products to wholesalers, retailers, and others in the greater Los Angeles area
              7   and nationwide.
              8          17.    Defendant Shaukat Ali Rajani is an individual residing in California
             9    with an address of 305 East 4th Street, Los Angeles, California 90013.
             10          18.    Upon information and belief, Defendant Shaukat Ali Rajani is an

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    0        11   owner and officer of Defendant New Rainbow,Inc., and also operates Defendant
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  ~w ~       12   LA Price Check LLC.
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  ~Qo        13          19.    Upon information and belief, Defendant Shaukat Ali Rajani is
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    Q J N    14   involved in the willful sale and distribution of counterfeit ZIG-ZAGS cigarette
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w ~ ~n       IS   paper products to wholesalers, retailers, and others in the greater Los Angeles area
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    Q        16   and nationwide.
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             17          20.    Defendant MJ Wholesale USA Inc.("MJ Wholesale") is a California
             18   company with a registered address and principal place of business at 320 S. Wall
             19   Street, Ste E & F, Los Angeles, California 90013.
             20          21.    Upon information and belief, Defendant MJ Wholesale is involved in
             21   the willful sale and distribution of counterfeit ZIG-ZAGS cigarette paper products
             22   to wholesalers, retailers, and others in the greater Los Angeles area and
             23   nationwide.
             24          22.    North Atlantic does not know the true names and capacities of the
             25   Defendants sued herein as JOHN DOES ONE through 1~TINETY-NINE, inclusive.
             26   It therefore sues these Defendants by such fictitious names. North Atlantic will
             27   amend this Complaint to allege the true names and capacities ofthese Defendants
             28   if/when it ascertains the same.


                                                                                              COMPLAINT
          Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 7 of 72 Page ID #:17




              1                                   Jurisdiction and Venue

              2          23.    This Court has subject matter jurisdiction over North Atlantic's
              3   Lanham Act and Copyright Act claims pursuant to 15 U.S.C. § 1121 and 28 U.S.C.
              4   §§ 1331 and 1338(a).
              5          24.    This Court has subject matter jurisdiction over North Atlantic's
              6   California law claims pursuant to 28 U.S.C. § 1338(b) and 28 U.S.C. § 1367(a).
              7          25.    This Court has personal jurisdiction over each of the Defendants
              8    because each Defendant has had continuous, systematic, and substantial contacts
              9    with the State of California, including doing business in California and having a
             10   place of business within California.
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    0        11          26.    Each Defendant is subject to general personal jurisdiction in
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    w        12   California and can be sued here on any claims.
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a       Qo   13          27.    Venue is proper in this Judicial District pursuant to 28 U.S.C. §
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      N      14    1391(b), in that, among other things, a substantial portion ofthe events or
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[~ ~ ~       1✓   omissions giving rise to this action (sales of counterfeit or otherwise infringing
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    Q        16   products) occurred in this District.
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             18                                     Factual Allegations
             19                      North Atlantic's ZIG-ZAGO Brand Products
             20          28.    Since 1938, North Atlantic and its predecessor-in-interest have
             21   continuously distributed ZIG-ZAGS brand cigarette paper products in the United
             22 II States.
             23          29.    In 1997, North Atlantic was established to be the exclusive U.S.
             24   ~ distributor of authentic ZIG-ZAGS brand cigarette paper products.
             25          30.    Authentic ZIG-ZAGS brand cigarette paper products come in several
             26    varieties, which differ in thickness, quality of paper, size, and the like.
             27          31.    Among the cigarette paper products distributed by North Atlantic in
             28                                    1 4 Size French Orange("ZIG-ZAGS Orange")
                  the United States are ZIG-ZAGS 1 /

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                                                                                                 COMPLAINT
          Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 8 of 72 Page ID #:18




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  w          12         32.    Authentic ZIG-ZAGS Orange cigarette paper products are described
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  ~Qo        13   as easy rolling, slow-burning classic papers.
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    a J N    14         33.    Authentic ZIG-ZAGS Orange products are manufactured in France
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~ ~~         15   from high quality ingredients.
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             16         34.    Authentic ZIG-ZAGS Orange products are imported into the United
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             17   States by North Atlantic through a single port of entry.
             18         35.    North Atlantic subjects all authentic ZIG-ZAGS Orange products and
             19   packaging to strict quality control standards, including inspections to ensure the
             20   products and packaging correctly display the ZIG-ZAGOO and NAOC~
             21   Trademarks, and other source identifiers, described below.
             22         36.    North Atlantic strives to ensure that all authentic ZIG-ZAGS Orange:
             23                   A. Is of uniform high quality;
             24                   B. Meets with North Atlantic's precise quality standards; and
             25                   C. Properly displays the ZIG-ZAGS and NAOC~ Trademarks
             26                      and other source identifiers (defined herein).
             27         37.    If the authentic ZIG-ZAGS Orange products and packaging pass
             28   North Atlantic's rigorous inspection, they are sold directly to North Atlantic's


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             Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 9 of 72 Page ID #:19




                   1   "direct accounts"(for the most part, wholesale distributors throughout the United
                  2    States).
                  3          38.    North Atlantic's direct accounts then distribute the products to
                  4    retailers and, in some cases, to other wholesalers.
                  5          39.    Ultimately, the products are purchased, used, and ingested by U.S.
                  6    consumers, many of whom prefer to roll their own smoking products and who have
                  7    been loyal ZIG-ZAGS and North Atlantic customers for years.
                  8

                  9                North Atlantic's ZIG-ZAGO and NAOCO Trademarks
                 10          40.    As described below, all authentic ZIG-ZAGS Orange cigarette paper

    0a           11    products and packaging have continuously displayed the following valid and
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   w             12    subsisting trademarks, all of which are registered on the Principal Register in the
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   NQo~          13    U.S. Patent and Trademark Office ("USPTO"), and which have become legally
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w ~              15                     A. U.S. Registration No. 610,530 for ZIG-ZAG (stylized);
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                 19                     B. U.S. Registration No. 1,127,946 for ZIG-ZAG(Word Mark);
                 20                                        ~~         ~

                 21                     C. U.S. Registration No. 2,169,540 for the Smoking Man Design
                 22                       (Circle Border);
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                                                                                                  COMPLAINT
        Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 10 of 72 Page ID #:20




             1                    D. U.S. Registration No. 2,169,549 for the Smoking Man Design
             2                       (No Border);
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             9   (together, the "ZIG-ZAGS Trademarks")(true and accurate copies of the records
            10   from the US~'TO denoting the current status ofthe federal trademark registrations

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    0       11   for the ZIG-ZAGS Trademarks are annexed hereto as Exhibit 1).
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  w         12          41.    North Atlantic has exclusive rights to distribute cigarette paper
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a QQ        13    products bearing the ZIG-ZAGS Trademarks under an exclusive trademark
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            14    licensing and distribution agreement with the trademark registrant, French
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w ~ ~,      15   company Bollore, S.A. The same agreement grants North Atlantic exclusive use
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            16    and enforcement rights, including the right to sue civilly to protect the licensed
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            17   rights.
            18          42.    North Atlantic also owns federal trademark registrations and
            19   common-law rights for the following North Atlantic Operating Company,Inc.
            20   trademarks, which also appear on the Principal Register in the USPTO and have
            21    become incontestable:
            22                    A. U.S. Registration Nos. 2,664,694 and 2,664,695 for NORTH
            23                        ATLANTIC OPERATING COMPANY INC. and Gear Design:
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       Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 11 of 72 Page ID #:21




               1                     B. U.S. Registration Nos. 2,610,473 and 2,635,446 for NORTH
                                        ATLANTIC OPERATING COMPANY(Word Mark):
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               5   (together, the "NAOC~ Trademarks")(true and accurate copies ofthe records
              6    from the USPTO denoting the current status ofthe federal trademark registrations
               7   for the NAOC~ Trademarks are annexed hereto as Exhibit 2).
               8          43.    Like the ZIG-ZAGS Trademarks, the NAOC~ Trademarks have been
               9   continuously used on all authentic ZIG-ZAGS Orange distributed by North
              10    Atlantic in the United States.

   0          11          44.    Because of its tremendous sales history, and because of the exclusive,
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   w          12   lengthy, and extensive use ofthe ZIG-ZAGS and NAOC~ Trademarks on goods
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~  ~m         13   of superior quality, North Atlantic has developed substantial goodwill and a strong
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          N   14   reputation as the exclusive source ofhigh-quality ZIG-ZAGS cigarette paper
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Z ~ a
 w ~ ~,       15   products in the United States.
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              16          45.    North Atlantic also has become known, nationwide, as the exclusive
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              17   U.S. source of authentic ZIG-ZAGS Orange, and U.S. consumers have come to
              18   associate those products with North Atlantic.
              19          46.    Thus, the ZIG-ZAGS and NAOC~ Trademarks are legally famous
              20   and deserving of the highest level of protection under U.S. law.
              21

              22                           North Atlantic's NAOCO Copyright
              23          47.    North Atlantic also owns the federal copyright registration for the
              24    visual material/computer graphic titled, "North Atlantic Operating Company,Inc."
              25   (the "NAOCO Copyright")(a true and accurate copy of the U.S. registration
              26   certificate issued by the U.S. Copyright Office to North Atlantic is annexed hereto
              27    as Exhibit 3).
              28          48.    Currently, and at all relevant times, North Atlantic has been the sole


                                                                                              COMPLAINT
         Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 12 of 72 Page ID #:22




              1   owner of all rights, title, and interest in and to the NAOCO Copyright.
              2            49.           The NAOCO Copyright also appears on all authentic ZIG-ZAGS
              3   Orange distributed by North Atlantic in the United States.
              4

              5                          North Atlantic's Hi~hly Distinctive Product Packa~in
              6            50.           The product packaging for North Atlantic's authentic ZIG-ZAGS
              7   Orange is also highly distinctive.
              8            51.           As illustrated below, North Atlantic's authentic ZIG-ZAGS Orange
              9   packaging features:(a)the ZIG-ZAGS and NAOC~ Trademarks;(b)the NAOCO
             10   Copyright;(c) gold-fill lettering and design elements;(d)French phrases such as
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             11   "Qualite Superieure" and "Braunstein Freres France;" and (e) the express
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     ~ n     12   statement that such products are "Made in France" or "Imported French," and are
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a ~N<o
    ~        13   "Distributed by North Atlantic Operating Company, Inc."
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                                                                                                                                                 COMPLAINT
        Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 13 of 72 Page ID #:23




               1                                                  Booklet(cover)
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                   (ZIG-ZAGS Trademarks, including ZIG-ZAGS (stylized), Z1G-ZAGS(Word Mark)and Smoking Man Design
           19
                   (Circle Border and No Circle Border); the NAOC~ Trademarks, including the NORTH ATLANTIC OPERATING
           20
                   COMPANY,INC. and Gear Design and the NORTH ATLANTIC OPERATING COMPANY(Word Mark); and the
           21
                   NAOCO Copyright)
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                                                                                                         COMPLAINT
           Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 14 of 72 Page ID #:24




                      1                            Carton (top view)

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                                                                                       COMPLAINT
          Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 15 of 72 Page ID #:25




                   1                                          Carton (side view)

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                                           (ZIG-ZAGS and NAOC~ Trademarks and NAOCD Copyright)
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                        (together, the "ZIG-ZAGS Orange Trade Dress")(8 %2" x 11" versions of the
               18
                         above photographs are annexed hereto as Exhibit 4).
               19
                               52.   Currently, and at all relevant times, North Atlantic has used the ZIG-
               20
                        ZAG~ Orange Trade Dress in commerce in the United States, and U.S. consumers
               21
                        instantly recognize it as a source identifier denoting North Atlantic, because of
               22
                        North Atlantic's lengthy and continuous use of the ZIG-ZAGS Orange Trade
               23
                        Dress in connection with the sale, in commerce, ofZIG-ZAGS Orange.
               24
                               53.   Each element of the ZIG-ZAGS Orange Trade Dress is arbitrary, non-
               25
                        functional, and highly distinctive.
               26
                              54.    The overall look-and-feel of the ZIG-ZAGS Orange Trade Dress is
               27
                        arbitrary, non-functional, and highly distinctive.
               28 '~,
                              55.    For years, North Atlantic has extensively and continuously used the
                                                                    13
                                                                                                  COMPLAINT
            Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 16 of 72 Page ID #:26




                       1   ~ ZIG-ZAGS Orange Trade Dress on superior quality goods.
                       2          56.    The ZIG-ZAGS Orange Trade Dress has become distinctive over
                       3   time through the acquisition of secondary meaning.
                       4          57.    Upon information and belief, U.S. consumers who see the ZIG-ZAGS
                       5   Orange Trade Dress instantly associate it with North Atlantic as a source identifier,
                       6   ~ and they do not associate it with any other source.
                       7

                                                Defendants' Willful Infringing Activities
                       9          58.    Based on North Atlantic's investigation to date, Defendants have been
                      10   engaged in a widespread, unlawful scheme of acquiring, selling, and distributing

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     0~.,             11   counterfeit ZIG-ZAGS cigarette paper products, specifically, counterfeit ZIG-
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a ~Qa                 13          59.    Upon information and belief, Defendants' misconduct in engaging in
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                      14   this counterfeiting scheme is willful because the Defendants know their purported
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w ~ ~,                15   ZIG-ZAGS Orange is counterfeit, but they distribute it anyway to maximize
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                      16   financial gain.
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                      17          60.    The key to Defendants' scheme is the use of knockoff packaging that
                      18   closely simulates the packaging of authentic ZIG-ZAGS Orange distributed by
                      19   North Atlantic—namely,packaging that bears counterfeit versions ofthe ZIG-
                      20   ZAG~ and NAOC~ Trademarks, and unauthorized, unlicensed reproductions of
                      21   the NAOCOO Copyright, and that contains papers and packaging that are not
                      22   manufactured pursuant or subject to North Atlantic's strict quality control
                      23   standards.
                      24          61.    Upon information and belief, Defendants are obtaining and reselling
                      25   purported ZIG-ZAGS Orange at prices far below the lowest available price that
                      26   North Atlantic offers to its authorized dealers.
                      27          62.   Defendants' counterfeit ZIG-ZAGS Orange cartons and booklets also
                      r:   differ from authentic cartons and booklets in important ways. Without limitation:

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                                                                                                     COMPLAINT
        Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 17 of 72 Page ID #:27




                  1                       A. Defendants' purported ZIG-ZAGS Orange is not the same size
                  2                          or dimensions as authentic ZIG-ZAGS Orange.
                  3                       B. The packaging is of a noticeably cheaper quality.
                  4                       C. The papers are shoddy and have a faster, hotter burn rate,
                  5                          potentially ruining consumers' smoking experiences.
                 6               63.   Upon information and belief, Defendants' purported ZIG-ZAGS
                  7    Orange is bought for far less money that Defendants would spend on authentic
                  8    products, which underscores their counterfeit nature and deprives North Atlantic of
                  9    sales it would have earned, but for Defendants' counterfeiting.
                 10              64.   Upon information and belief, each sale of counterfeit ZIG-ZAGS

    0            11   Orange replaces the sale of authentic ZIG-ZAGS Orange on, at least, aone-for-
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  w              12    one basis.
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                 13              65.   Thus, every sale of counterfeit ZIG-ZAGS Orange Defendants make
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                 14    deprives North Atlantic of at least an equivalent amount of sales of authentic ZIG-
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    Q            16              66.   The economic harm to North Atlantic may be even greater than this, if
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                 17   consumers are disappointed with the quality of Defendants' counterfeit products
                 18    and decide to switch to another competing brand.
                 19              67.   There are other differences between counterfeit and authentic products
                 20   ~ that make it harmful for the products to enter the marketplace.
                 21              68.   The differences between counterfeit and authentic products also make
                 22    it possible for North Atlantic's product quality personnel to tell them apart.
                 23              69.   Consumers who purchase and use the counterfeit products, however,
                 24    are unlikely to be able to tell the difference between counterfeit and authentic
                 25    products, even if they have been loyal ZIG-ZAGS or North Atlantic customers for
                 26   ~ years.
                 27              70.   Thus, any disappointment or harm the customers experience as a
                 28   result of buying, using, or ingesting counterfeit products is likely to be mistakenly

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                                                                                                   COMPLAINT I
           Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 18 of 72 Page ID #:28




                1   attributed to North Atlantic, instead of to Defendants and other counterfeiters who
               2    sell the counterfeit products.
               3          71.    North Atlantic cannot tell what conditions the counterfeit products
               4    have been subjected to, and it cannot vouch for the quality of the ingredients used
               5    to make them (even though they are distributed in packaging displaying North
               6    Atlantic's registered and licensed trademarks, and the false phrase "Distributed by
               7    North Atlantic Operating Company, Inc.").
               8          72.    Upon information and belief, Defendants have been selling their
               9    counterfeit ZIG-ZAGS Orange to wholesalers in large quantities for significant
               10   profits. If initially sold to other wholesalers, those secondary wholesalers then in
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    0~.,       11   turn sell the counterfeit ZIG-ZAGS Orange to retailers. Regardless of whether
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  w            12   there are intermediate wholesalers, once the retailers obtain the counterfeit ZIG-
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a Qo           13   ZAGS Orange, they sell the counterfeit ZIG-ZAGS Orange in the same retail
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    Q J N      14   outlets where consumers would expect to find authentic ZIG-ZAGS Orange. This
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               15   causes the counterfeit products to compete with authentic products on at least a
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               16   one-for-one basis.
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               17         73.    Upon information and belief, none of the Defendants are authorized or
               18   licensed to sell or distribute any infringing products bearing the ZIG-ZAGS
               19   Trademarks.
               20         74.    No Defendants are licensed to sell or distribute any infringing
               21   products bearing the NAOCO Trademarks.
               22         75.    No Defendants have been authorized or licensed by North Atlantic to
               23   sell or otherwise distribute any products or packaging that simulate North
               24   Atlantic's ZIG-ZAGS Orange Trade Dress, or that display reproductions or exact
               25   copies of the NAOCO Copyright.
               26         76.     Yet, Defendants have done exactly this, willfully, to earn potentially
               27   thousands of dollars' worth of illicit profits, obtained from their sale of counterfeit
               28   ~ ZIG-ZAGS Orange.

                                                               16
                                                                                                 COMPLAINT
           Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 19 of 72 Page ID #:29




                1                Defendants' Sale/Distribution of Counterfeit Products
               2          77.    North Atlantic has fresh evidence that the Defendants are willfully
               3    selling and distributing counterfeit ZIG-ZAGS Orange in this judicial district(the
               4    greater Los Angeles area) and nationwide.
               5          78.    Collectively, Defendants have sold seventy-nine (79) cartons of
               6    confirmed counterfeit ZIG-ZAGS Orange to North Atlantic representatives.
               7          79.    Collectively, Defendants sold at least six-hundred (600)cartons of
               8    confirmed counterfeit ZIG-ZAGS Orange to other wholesalers, including
               9    wholesalers in Arizona and Texas.
               10         80.    These are just the sales North Atlantic knows about. Extrapolating

  0            11   from these sales, Defendants are probably counterfeiting, and illicitly profiting, on
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  w            12   a much larger scale.
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a~QQ~ ~        13         81.    In each of the transactions in confirmed counterfeit ZIG-ZAGS
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       J   N   14   Orange described below, North Atlantic believes that Defendant MJ Wholesale
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~, _ ~,        15   sold the counterfeit ZIG-ZAGS Orange to Defendant LA Price Check via its
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                    owners/officers/operators Khairunnish Rajani and Shaukat Ali Rajani, and
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               17   Defendant LA Price Check in turn distributed the counterfeit ZIG-ZAGS Orange
               18   to wholesalers, retailers, and others in the marketplace.
               19         82.    All below-described transactions in the counterfeit ZIG-ZAGS
               20   Orange products are willful, because North Atlantic's investigation collected
               21   evidence of Defendants' expressly using the terms "counterfeit" and "genuine" to
               22   refer to products sold distributed by Defendants versus products sold/distributed by
               23   North Atlantic and its direct accounts.
               24

               25         September 2016 — 200 Cartons of Counterfeit ZIG-ZAGO Orange to an
               26         Arizona Wholesaler
               27         83.    In August and September of 2016, North Atlantic was contacted
               28   multiple times by an Arizona wholesaler who, reportedly, was offered at least two-

                                                              17
                                                                                               COMPLAINT
                Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 20 of 72 Page ID #:30




                     1   hundred (200) cartons of purported ZIG-ZAGS Orange, by Defendants, at below-
                    2    market prices.
                    3           84.     In or around September 2016, the Arizona wholesaler bought at least
                    4    two-hundred (200) cartons of purported ZIG-ZAGS Orange from Defendants at
                    5    the below-market prices.
                    6           85.     Subsequent to the transaction, North Atlantic obtained samples of the
                    7    cartons of purported ZIG-ZAGS Orange that the Arizona wholesaler bought from
                    8    Defendants.
                    9           86.     North Atlantic inspected and analyzed these cartons and confirmed
                    10   that they are counterfeit in nature because of tell-tale physical and quality
     0              11   differences.
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   ~w ~             12          87.     North Atlantic also obtained purchasing documents, confirming the
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 a Qo               13   distribution chain from Defendants to the Arizona wholesaler.
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     Q      J       14          88.     Thus, Defendants sold at least two-hundred cartons of confirmed
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 r~ ~ ~,            15   counterfeit ZIG-ZAGS Orange in or around September 2016.
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                    17          October 2016 — 400 Cartons of Counterfeit ZIG-ZAGO Orange to a
                    18          Texas Wholesaler
                    19          89.     In late 2016, North Atlantic executed an ex pane seizure order at a
                    20   Texas wholesaler known to have sold counterfeit ZIG-ZAGS Orange to
                    21   ~ wholesalers and retailers in northern and southeastern Texas.
                    22          90.     During the seizure, North Atlantic seized from the Texas wholesaler
                    23   over one hundred (100) cartons of confirmed counterfeit ZIG-ZAGS Orange.
                    24          91.     Also during the seizure, North Atlantic identified the upstream source
                    25   of the Texas wholesaler's counterfeit ZIG-ZAGS Orange.
                    26          92.     Immediately after the seizure, North Atlantic's investigators travelled
                    27   to the source's warehouse and interviewed the source's owner. The owner turned
                    28   over purchasing documents: (i) linking the seized counterfeit ZIG-ZAGS Orange

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                                                                                                     COMPLAINT
            Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 21 of 72 Page ID #:31




                 1   to Defendant LA Price Check, and (ii) confirming that Defendant LA Price Check
                2    sold over four-hundred (400)cartons of counterfeit ZIG-ZAGS Orange at the
                 3   below-market price of $10.00/carton in October 2016.
                4          93.      North Atlantic's investigators sent the seized ZIG-ZAGS Orange and
                 5   purchasing documents to its quality control department in Louisville, Kentucky.
                6          94.      North Atlantic employees inspected and analyzed the seized cartons
                 7   and confirmed they are counterfeit because of tell-tale physical and quality
                 8   differences.
                9          87.      North Atlantic also evaluated the $10.00/carton purchase price and
                10   confirmed that there is no possibility that any cartons sold at that price could be

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                11   authentic, unless the cartons were sold at a staggering loss that wholesalers in the
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            N   14         June 23, 2017— 50 Cartons of Counterfeit ZIG-ZAGO Orange to North
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    Q           16         95.      On or about June 23, 2017, North Atlantic's undercover investigators
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                17   purchased, directly from Defendant LA Price Check, fifty (50) cartons of purported
                18   ZIG-ZAGS Orange for $15.00/carton. Upon information and belief, and based on
                19   North Atlantic's investigation, all fifty(50) of these cartons were obtained by
                20   Defendant LA Price Check from Defendant MJ Wholesale.
                21         96.      The June 23, 2017 purchase was negotiated with Defendant Shaukat
                22   Ali Rajani, the owner of Defendant New Rainbow, Inc., and the operator of
                23   Defendant LA Price Check.
                24         97.      North Atlantic paid by credit card for the fifty(50) cartons of
                25   purported ZIG-ZAGS Orange, which Defendant LA Price Check shipped to a
                26   fictitious wholesale customer in Michigan.
                27         98.      All fifty(50) cartons were subsequently shipped to North Atlantic
                28   headquarters for inspection and analysis. The inspection and analysis conclusively

                                                                19
                                                                                                 COMPLAINT
          Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 22 of 72 Page ID #:32




              1   showed that all fifty(50) cartons, and their contents (booklets and papers), are
              2   counterfeit because of tell-tale physical differences between counterfeit and
              3   ~ authentic products.
              4

              5          July 10, 2017-16 Cartons of Counterfeit ZIG-ZAGO Orange to North
              6          Atlantic
              7          99.    On or about July 10, 2017, North Atlantic's undercover investigators
              8   purchased, directly from Defendant LA Price Check, sixteen (16) cartons of
              9   purported ZIG-ZAGS Orange for a price just above $18.00/carton. Upon
             10   information and belief, and based on North Atlantic's investigation, all sixteen (16)

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    0        11   of these cartons were obtained by Defendant LA Price Check from Defendant MJ
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       ~     13          100. The July 10, 2017 purchase was negotiated with Defendant Shaukat
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    Q J N    14    Ali Rajani, the owner of Defendant New Rainbow, Inc., and the operator of
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    N        IS   Defendant LA Price Check.
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             16          101. North Atlantic paid $290 in cash for the sixteen (16) cartons of
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             17   purported ZIG-ZAGS Orange, which a North Atlantic investigator picked up in
             18   person from Defendant LA Price Check's warehouse.
             19          102. Surveillance conducted during the transaction confirmed that an
             20   employee of Defendant LA Price Check travelled to Defendant MJ Wholesale's
             21    warehouse at 320 S. Wall Street, Ste. E & 4, Los Angeles, California 90013 to pick
             22   up a black plastic bag containing the sixteen (16) cartons of purported ZIG-ZAGS
             23   Orange.
             24          103. North Atlantic's investigator requested a receipt, but Defendant LA
             25   Price Check, via Defendant Shaukat Rajani, refused to issue one.
             26          104. All sixteen (16)cartons were subsequently shipped to North Atlantic
             27   headquarters for inspection and analysis.
             28          105. The inspection and analysis conclusively showed that all sixteen(16)

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                                                                                            COMPLAINT
            Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 23 of 72 Page ID #:33




                 1   cartons, and their contents (booklets and papers), are counterfeit because of tell-
                2    tale physical differences between counterfeit and authentic products.
                3

                4           July 21, 2017-13 Cartons of Counterfeit ZIG-ZAGO Orange to North
                5           Atlantic
                6           106. On or about July 21, 2017, North Atlantic's undercover investigators
                7    purchased, directly from Defendant LA Price Check, thirteen (13) cartons of
                8    purported ZIG-ZAGS Orange for a price just above $11.00/carton. Upon
                9    information and belief, and based on North Atlantic's investigation, all thirteen
                10   (13) of these cartons were obtained by Defendant LA Price Check from Defendant

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                11   MJ Wholesale.
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    ~ r         12          107. The July 21, 2017 purchase was negotiated with Defendant Shaukat
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a ~Qo           13    Ali Rajani, the owner of Defendant New Rainbow, Inc., and the operator of
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                15          108. North Atlantic paid $145 in cash for the thirteen (13) cartons of
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                16    purported ZIG-ZAGS Orange, which a North Atlantic investigator picked up in
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                17    person from Defendant LA Price Check's warehouse.
                18          109. North Atlantic's investigator requested a receipt, but Defendant LA
                19   Price Check, via Defendant Shaukat Rajani, refused to issue one.
                20          1 10. All thirteen (13) cartons were subsequently shipped to North Atlantic
                21    headquarters for inspection and analysis.
                22          ll 1. The inspection and analysis conclusively showed that all thirteen (13)
                23    cartons, and their contents (booklets and papers), are counterfeit because of tell-
                24    tale physical differences between counterfeit and authentic products.
                25          1 12. Additionally, while negotiating the July 21, 2017 sale with Defendant
                26   LA Price Check, via Defendant Shaukat Rajani, Mr. Rajani indicated to the North
                27    Atlantic investigator that he subjectively knew the cartons he was selling were
                28    counterfeit cartons ofZIG-ZAGOO Orange, expressly using the wording

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                                                                                                 COMPLAINT
             Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 24 of 72 Page ID #:34




                     1   "counterfeit" to refer to the cartons ofZIG-ZAGS Orange sold at the
                 2       $11.00/carton price, and the wording "genuine" to refer to other cartons of ZIG-
                 3       ZAGS Orange in inventory at LA Price Check's warehouse, sold at higher price
                 4       points.
                 5             113. Mr. Rajani also told the North Atlantic investigator that dealing in
                 6       "counterfeit" ZIG-ZAGS Orange is "risky," because of North Atlantic's anti-
                 7       counterfeiting enforcement and investigation, and previous ex pane seizures in
                 8       Riverside County, California, in the past two years.
                 9              1 14. Mr. Rajani also indicated he could get larger quantities of
                 10      "counterfeit" ZIG-ZAGS Orange, but only if the undercover North Atlantic

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      0M                 committed to buying larger quantities (over 1,500 cartons) and paid a $1,000
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  ~w ~           12      deposit to LA Price Check's source (upon information and belief, Defendant MJ
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  ~Qo            13      Wholesale).
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                 16             1 15. Based on the foregoing facts, Defendants' distribution of at least six-
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                 17      hundred and seventy-nine (679)cartons of counterfeit ZIG-ZAGS Orange is
                 18      willful. These are just the sales North Atlantic knows about—Defendants likely
                 19      have sold many more cartons of counterfeit ZIG-ZAGO Orange, and potentially
                 20      other counterfeit ZIG-ZAGO brand products.
                 21             1 16. Defendants appear to have known that they sold counterfeit cartons of
                 22      ZIG-ZAGS Orange to the Arizona wholesaler, Texas wholesaler, and North
                 23      Atlantic's investigators acting undercover.
                 24             1 17. Upon information and belief, for each ofthe transactions described
                 25      above, the Defendants knew the cartons of purported ZIG-ZAGS Orange (a) were
                 26      not manufactured, marketed, advertised, distributed or sold by North Atlantic and
                 27      were counterfeit, rather than genuine in nature;(b) were sold without any rights to
                 28      sell or otherwise distribute products bearing the ZIG-ZAGS or NAOC~

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                                                                                                    COMPLAINT
          Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 25 of 72 Page ID #:35




              1    Trademarks, or the NAOC(C)Copyright, or the ZIG-ZAGS Orange Trade Dress;
              2    and (c) were sold at per-carton prices that are too low to possibly be authentic
              3   cartons ofZIG-ZAGS Orange distributed by North Atlantic.
              4           1 18. Upon information and belief, Defendants' refusal to issue receipts for
              5   ~ certain transaction further indicates willfulness, in that it suggests a desire to
              6   conceal sales.
              7           1 19. Defendants' express use of phrasing such as "counterfeit" and
              8   "genuine" to refer to counterfeit and genuine ZIG-ZAGS Orange also indicates
              9    willfulness.
             10           120. Upon information and belief, Defendants all knew that their activities
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    0        11    described above were illegal and violated North Atlantic's trademark rights,
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  Qm         16           121. Defendants' willful misconduct, described above, is depriving North
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             17    Atlantic of the absolute right to control the quality of products distributed using its
             18   ZIG-ZAGS and NAOC~ Trademarks, NAOCO Copyright, and ZIG-ZAGS
             19    Orange Trade Dress.
             20           122. Defendants' counterfeiting jeopardizes the enormous goodwill and
             21    value associated with those Trademarks and the NAOCOO Copyright, and with the
             22   ZIG-ZAGS Orange Trade Dress, which North Atlantic has built up over years.
             23           123. Exacerbating the risk of injury to North Atlantic is the fact that
             24   Defendants' counterfeit products appear to be of inferior quality compared with
             25    North Atlantic's authentic ZIG-ZAGOO cigarette paper products, and are made with
             26    materials of unknown origin, but yet look very similar to the average consumer.
             27           124. Consumers deceived by Defendants' simulated ZIG-ZAGS Orange
             28    have and will purchase Defendants' counterfeit products instead of North

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                                                                                                  COMPLAINT
           Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 26 of 72 Page ID #:36




                1   ~ Atlantic's authentic products.
               2           125. Thus, consumers are likely to think less favorably of North Atlantic
                3   than if they had purchased North Atlantic's high-quality authentic ZIG-ZAGS
               4    Orange, as they likely intended to do.
               5           126. As a direct and proximate result of the foregoing, North Atlantic has
               6    suffered and, unless Defendants' conduct is enjoined by this Court, will continue to
               7    suffer actual economic damages in the form of lost sales, revenues, and profits, as
               8    well as immediate and irreparable harm for which it has no adequate remedy at
               9    law.
               10                              FIRST CLAIM FOR RELIEF
               11           FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. ~ 1114)
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   w           12          127. North Atlantic repeats, realleges and incorporates by reference each
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               13   and every allegation contained in the above paragraphs, as though fully set forth
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           N   14   herein.
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~ ~~           15          128. In violation of 15 U.S.C. § 1114, Defendants, independently and in
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   Q           16   conspiracy with one another, used in commerce, without North Atlantic's consent,
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               17   either a reproduction, counterfeit, copy, or colorable imitation ofthe ZIG-ZAGS
               18   and NAOC~ Trademarks on and in connection with the sale, offering for sale,
               19   distribution, or advertising of counterfeit ZIG-ZAGS Orange cigarette paper
               20   products, which use is likely to cause confusion, or to cause mistake, or to deceive
               21   consumers.

               22          129. Defendants' actions constitute willful infringement of North
               23    Atlantic's exclusive rights in and to the ZIG-ZAGS and NAOC~ Trademarks,
               24    which are registered on the Principal Register, and which North Atlantic either
               25   owns or has the exclusive right to use and enforce in the United States.
               26          130. As a direct and proximate result of Defendants' willful misconduct,
               27   North Atlantic has suffered irreparable harm to the value and goodwill associated
               28    with the ZIG-ZAGS and NAOC~ Trademarks, and to North Atlantic's reputation

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                                                                                               COMPLAINT
         Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 27 of 72 Page ID #:37




             1   in the industry. Unless the Defendants are restrained and enjoined from further
             2   infringement of the ZIG-ZAGS and NAOC~ Trademarks, North Atlantic (and
             3   consumers) will continue to be irreparably harmed.
             4           131. As a direct and proximate result of Defendants' willful misconduct,
             5   '~ North Atlantic has suffered lost sales.
             6           132. North Atlantic has absolutely no remedy at law that could compensate
             7   it for the continued, irreparable harm that it will suffer if the Defendants' willful
             8   misconduct is allowed to continue.
             9           133. As a direct and proximate result of Defendants' willful misconduct,
            10   North Atlantic also has suffered damages to the valuable, registered ZIG-ZAGS

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    0       11   and NAOC~ Trademarks; to its reputation among U.S. consumers; to the goodwill
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     w      12   associated with the ZIG-ZAGS and NAOCOO Trademarks and brands; and other
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    ~N Qo   13   damages in an amount not yet known, but to be proved at trial. North Atlantic is
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    Q J N   14   also entitled to statutory damages, enhanced damages, and/or its reasonable
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 ~ ~ N      15   attorneys' fees, at North Atlantic's option.
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            16                              SECOND CLAIM FOR RELIEF
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            17              FALSE DESIGNATION,UNFAIR COMPETITION,AND
            18               TRADEMARK AND TRADE DRESS INFRINGEMENT
            19                                    (15 U.S.C. ~ 1225(a))
            20           134. North Atlantic repeats, realleges, and incorporates by reference each
            21   and every allegation contained in the above paragraphs, as though fully set forth
            22   herein.
            23           135. In violation of 15 U.S.C. § 1125(a), Defendants, independently and in
            24   conspiracy with one another, in connection with the counterfeit ZIG-ZAGS
            25   Orange cigarette paper products, have used in commerce a slogan, trade dress,
            26    word, term, name, symbol, or device, or any combination thereof, or a false
            27    designation of origin, false or misleading description of fact, or false or misleading
            28   representation of fact, which was or is likely to cause confusion or to cause

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                                                                                              COMPLAINT
           Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 28 of 72 Page ID #:38




                1   mistake, or to deceive as to an affiliation, connection, or association with North
               2    Atlantic.
               3          136. The Defendants have willfully infringed North Atlantic's exclusive
               4    rights in and to the common-law rights associated with the ZIG-ZAGS and
               5    NAOC~ Trademarks, the unregistered ZIG-ZAGS Orange Trade Dress, and have
               6    falsely designated the counterfeit products as "Distributed by North Atlantic
               7    Operating Company,Inc." on the packaging.
               8          137. As a direct and proximate result of Defendants' willful misconduct,
               9    North Atlantic has suffered and is suffering irreparable harm to the value and
               10   goodwill associated with the ZIG-ZAGS and NAOC~ Trademarks, and the ZIG-

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     0         11   ZAG~ Orange Trade Dress, and associated common-law rights, and to North
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   ~w r        12   Atlantic's nationwide reputation as a distributor ofhigh-quality ZIG-ZAGS brand
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a Nao          13   cigarette paper products.
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           N   14         138. Unless the Defendants are restrained and enjoined from further
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    ~,         15   infringement of the ZIG-ZAGS and NAOC~ Trademarks, the ZIG-ZAGS Orange
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     Q         16   Trade Dress, and associated common-law rights, and from falsely stating their
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               17   counterfeit products are "Distributed by North Atlantic Operating Company,Inc.,"
               18   North Atlantic will continue to be irreparably harmed.
               19          139. North Atlantic has no adequate remedy at law that could compensate
                    it for the continued and irreparable harm it has suffered, and will continue to suffer
               21   ifthe Defendants' willful misconduct is allowed to continue.
               22          140. As a direct and proximate result of Defendants' willful misconduct,
               23   North Atlantic has suffered lost sales.
               24          141. As a direct and proximate result of Defendants' willful misconduct,
               25   North Atlantic has suffered damages to the valuable ZIG-ZAGS and NAOC~
               26   Trademarks; to the ZIG-ZAGS Orange Trade Dress; to North Atlantic's reputation
               27   among U.S. consumers; to the goodwill associated with the ZIG-ZAGS and
               28   NAOC~ Trademarks, brands, and ZIG-ZAGS Orange Trade Dress; and other

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                                                                                               COMPLAINT
         Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 29 of 72 Page ID #:39




               1   damages in an amount not yet known, but to be proved at trial.
              2                             THIRD CLAIM FOR RELIEF
              3        FEDERAL COPYRIGHT INFRINGEMENT (17 U.S.C. ~~ 101 et seq.)
              4           142. North Atlantic repeats, realleges and incorporates by reference each
              5    and every allegation contained in the above paragraphs, as though fully set forth
              6    herein.
              7           143. Currently, and at all relevant times, North Atlantic has been the sole
              8    owner of all rights, title, and interest in and to the NAOCO Copyright.
              9           144. North Atlantic has the exclusive right to, among other things,
              10   reproduce, distribute, publicly display, and create derivative works from the

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              11   NAOCO Copyright, which it solely owns.
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   w          12          145. North Atlantic registered its claim to the copyright in the NAOC~
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a NQo         13   Copyright with the United States Copyright Office. To wit, North Atlantic
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                   possesses a copyright registration certificate for the NAOCO Copyright dated
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w ~ ~,        15   ~ October 11, 2002.
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              16          146. The Defendants have directly infringed the NAOCO Copyright by
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              17   unlawfully reproducing, transmitting, distributing, publicly displaying, or creating
              18   derivative works based on the NAOCOO Copyright, in violation of North Atlantic's
              19   exclusive rights under 17 U.S.C. § 106.
              20          147. The foregoing actions ofthe Defendants in violation of North
              21   Atlantic's rights have been willful and intentional, executed with full knowledge of
              22   North Atlantic's exclusive rights in the NAOCO Copyright, and in conscious
              23   disregard of those rights.
              24          148. North Atlantic is entitled to recover from the Defendants the profits
              25   that the Defendants obtained through infringements of the NAOCD Copyright, as
              26   well as North Atlantic's damages from those infringements, or, at North Atlantic's
              27   election, statutory damages pursuant to 17 U.S.C. ¶ 504.
              28          149. North Atlantic is also entitled to recover costs and attorneys' fees

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                                                                                             COMPLAINT
             Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 30 of 72 Page ID #:40




                  1       from Defendants pursuant to 17 U.S.C. § 505.
                 2              150. Defendants' willful infringements of North Atlantic's NAOCO
                 3        Copyright has caused, and unless enjoined by this Court, will continue to cause,
                 4        irreparable injury to North Atlantic, which is not fully compensable in monetary
                 5        damages. North Atlantic is therefore entitled to preliminary and permanent
                 6        injunctions prohibiting the Defendants from further infringing North Atlantic's
                 7        NAOCO Copyright.
                 8                                FOURTH CLAIM FOR RELIEF
                 9                           STATE-LAW UNFAIR COMPETITION
                 10                              (Cal. Bus. &Prof. Code ~ 17200)
                 11   i         151. North Atlantic repeats, realleges and incorporates by reference each
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     r ~         1~       and every allegation contained in the above paragraphs, as though fully set forth
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     Q   J   N   14             152. By manufacturing, selling, offering for sale, and/or distributing
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w ~ ~,           15       counterfeit ZIG-ZAGS Orange cigarette paper products, Defendants, acting
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                 16       independently and in conspiracy with one another, have committed unlawful,
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                 17       unfair, and fraudulent business practices, in violation of Cal. Bus. &Prof. Code §
                 18   1 17200.
                 19             153. Defendants' willful misconduct is unlawful because it violates
                 20       numerous state and federal statutes, including but not limited to 15 U.S.C. § 1114,
                 21       15 U.S.C. § 1125(a), and 17 U.S.C. § 106.
                 22             154. Defendants' willful misconduct is unfair because it offends
                 23       established public policy; is immoral, unethical, oppressive, unscrupulous,
                 24       substantially injurious to consumers, and without justification; and significantly
                 25   ~ threatens or harms competition.
                 26             155. Defendants' willful misconduct is fraudulent because it is likely to
                 27       deceive reasonable consumers.
                 28             156. North Atlantic is entitled to an injunction restraining Defendants'

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                                                                                                     COMPLAINT
          Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 31 of 72 Page ID #:41




              1   willful misconduct, described above, and to such orders as may be necessary to
              2   restore to North Atlantic's interest in any money or property, real or personal,
              3   which may have been acquired by means of Defendants' unfair competition.
              4           157. North Atlantic also is entitled to recover damages caused by
              5   Defendants' willful misconduct, including damages to its ZIG-ZAGS and
              6   ~I NAOC~ Trademarks, and ZIG-ZAGS Orange Trade Dress; to North Atlantic's
              7   reputation among U.S. consumers; to the goodwill associated with the ZIG-ZAGS
              8   and NAOC~ Trademarks and brands; and other damages in an amount not yet
              9   known, but to be proved at trial.
             10                               FIFTH CLAIM FOR RELIEF

  0          11                     COMMON-LAW UNFAIR COMPETITION
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             12           158. North Atlantic repeats, realleges and incorporates by reference each
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a ¢am        13   and every allegation contained in the above paragraphs, as though fully set forth
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W ~~         15           159. In violation of the common law of the State of California and
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             16   elsewhere, Defendants, independently and in conspiracy with one another, have
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             17   unfairly competed with North Atlantic by selling counterfeit ZIG-ZAGS Orange
             18   cigarette paper products.
             19           160. As a direct and proximate result of Defendants' unfair competition,
             20   North Atlantic has suffered irreparable harm to the valuable ZIG-ZAGS and
             21   NAOC~ Trademarks, the NAOCO Copyright, the ZIG-ZAGS Orange Dress, and
             22   to North Atlantic's industry reputation. Unless the Defendants willful misconduct
             23    is restrained, North Atlantic will continue to be irreparably harmed.
             24           161. North Atlantic has no adequate remedy at law that will compensate
             25   for the continued and irreparable harm it will suffer if Defendants' willful
             26    misconduct is allowed to continue.
             27           162. North Atlantic also has suffered damages caused by Defendants'
             28    willful misconduct, including damages to its ZIG-ZAGS and NAOC~

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                                                                                              COMPLAINT
            Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 32 of 72 Page ID #:42




                 1   Trademarks, and ZIG-ZAGOO Orange Trade Dress; to North Atlantic's reputation
                     among U.S. consumers; to the goodwill associated with the ZIG-ZAGS and
                3    NAOC~ Trademarks and brands; and other damages in an amount not yet known,
                4    but to be proved at trial.
                5                                  PRAYER FOR RELIEF
                6           WHEREFORE, North Atlantic demands judgment against Defendants as
                7    follows:
                8               1. For judgment that:
                9                     a. Defendants have violated Section 32 of the Lanham Act, 15
                to                       U.S.C. § 1114;
   0            11                    b. Defendants have violated Section 43 of the Lanham Act, 15
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   w            12                       U.S.C. § 1125(a);
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a ;Q o          13                    c. Defendants have violated the Copyright Act of 1976, 17 U.S.C.
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            N   14                        § 101 et seq.;
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 w ~~ o~,       15                    d. Defendants have unfairly competed with North Atlantic in
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                16                        violation of California state-law;
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                17                    e. Defendants have unfairly competed with North Atlantic, and
                18                       have been unjustly enriched at North Atlantic's expense, in
                19                        violation of California common-law;
                20                    £ In all instances, Defendants acted in bad faith, willfully,
                21                       intentionally, and/or in malicious disregard of North Atlantic's
                22                       lawfully protected rights.
                23              2. For an order enjoining Defendants, their agents, their servants, their
                24                 employees, and their officers, and all those acting in concert or
                25                 participation with them, who receive actual notice by personal service
                26                 or otherwise, pending the final hearing and determination of this
                27                 action, from directly or indirectly, anywhere in the world:
                ►:                    a. Manufacturing, making, buying, purchasing, importing,

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                                                                                                 COMPLAINT
          Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 33 of 72 Page ID #:43




                                   shipping, delivering, advertising, marketing, promoting,
                                   offering to sell, selling, or otherwise distributing or disposing
              3                    of, in any manner, any counterfeit or infringing ZIG-ZAGS
              4                    brand cigarette paper products, including but not limited to
              5                               1 4 Size French Orange("ZIG-ZAGS Orange"),
                                   ZIG-ZAGS 1 /
              6                    or any cigarette paper products bearing:
              7                       i. Infringing or counterfeit versions of the ZIG-ZAGS
              8                          Trademarks, the NAOC~ Trademarks, the NAOCO
              9                          Copyright, and/or the ZIG-ZAGS Orange Trade Dress,
             10                          which appear along or in combination on all cartons and
    0        11                          booklets ofZIG-ZAGS Orange cigarette paper products
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   F ~       12                          distributed by North Atlantic in the United States; or
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a       Qo   13                       ii. The false statement that such products are "Distributed
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    Q J N                                by North Atlantic Operating Company,Inc." or otherwise
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w ~ ~,       15                          under the control or supervision of North Atlantic, when
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             16                          they are not;
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             17                 b. Manufacturing, making, buying, purchasing, importing,
             18                    shipping, delivering, advertising, marketing, promoting,
             19                    offering to sell, selling, or otherwise distributing of, in any
             20                    manner, any purported North Atlantic products that are not
             21                    actually produced, imported, or distributed under North
             22                    Atlantic's control or supervision, or approved for sale in the
             23                    United States by North Atlantic in connection with the ZIG-
             24                    ZAGS Trademarks, and NAOCO Trademarks, the NAOCO
             25                    Copyright, or the ZIG-ZAGS Orange Trade Dress;
             26                 c. Committing any acts calculated to cause purchasers to believe
             27                    that counterfeit or infringing ZIG-ZAGS brand cigarette paper
             28                    products, including counterfeit ZIG-ZAGS Orange, originate

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                                                                                            COMPLAINT
           Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 34 of 72 Page ID #:44




                1                    with North Atlantic when they do not;
               2                  d. In any way infringing or damaging the ZIG-ZAGS or NAOC~
                3                    Trademarks, the NAOCO Copyright, or the ZIG-ZAGS Orange
               4                     Trade Dress, or the value or goodwill associated therewith;
               5                  e. Otherwise unfairly competing with North Atlantic in any way;
               6                     and
               7                  f. Attempting, causing, or assisting in any ofthe above-described
               8                     acts, including but not limited to, enabling others in the above-
               9                     described acts, or by passing on information to allow them to
               10                    do so.

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  0            11          3. For an order requiring Defendants to cooperate with North Atlantic in
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   w           12             good faith in its investigation of counterfeit sales at their retail and
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a ~Qo          13              wholesale establishments, including, without limitation by:
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     Q J   N   14                 a. Permitting North Atlantic representatives or their designees to
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 w   F N       15                    conduct inspections of Defendants' inventories of cigarette
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               16                    paper products to determine whether any cigarette paper
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               17                    products bearing the ZIG-ZAGS or NAOC~ Trademarks or
               18                    the NAOCOO Copyright, or housed in any packaging simulating
               19                    the ZIG-ZAGS Orange Trade Dress, are counterfeit, and to
               20                    retain possession of any such counterfeit products;
               21                 b. Responding to reasonable requests for information about
               22                    Defendants' sources) ofZIG-ZAGS brand cigarette paper
               23                    products; and
               24                 c. Cooperating with North Atlantic representatives or their
               25                    designees in their investigations of any sources) ofZIG-ZAGS
               26                    brand cigarette paper products.
               27            4.      For an order:
               r:                 a. Requiring Defendants to account for and pay over to North

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                                                                                               COMPLAINT
           Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 35 of 72 Page ID #:45




               1                    Atlantic all profits derived from their wrongful misconduct to
               2                    the full extent provided for by Section 35(a) of the Lanham Act,
               3                    15 U.S.C. § 1117(a);
               4                 b. Requiring Defendants to account for and pay to North Atlantic
               5                    enhanced damages resulting from their wrongful misconduct to
               6                    the full extent provided for by Section 35(b) ofthe Lanham
                                    apt, is u.s.c. § 111~(b>;
               8                 c. Awarding damages to North Atlantic, or statutory damages in
               9                    an amount not less than $2 million ($2,000,000) per trademark
              10                    pursuant to section 35(c) of the Lanham Act, 15 U.S.C. §

  0           11                    1 117(c)(2), or in the alternative $200,000 per trademark
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  ~w r        12                    pursuant to 15 U.S.C. § 1117(c)(1);
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a ¢am         13                 d. Requiring the Defendants to account for and pay all profits
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   Q J N      14                    derived from their wrongful misconduct to North Atlantic, to
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~ ~~          15                    the full extent provided for by the Copyright Act, 17 U.S.C. §
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              17                 e. Awarding damages to North Atlantic, or statutory damages in
              18                    an amount not less than $150,000 per infringement ofthe
              19                    NAOCO Copyright which occurred after the filing of its
              20                    copyright application against each ofthe Defendants separately
              21                    and jointly;
              22                 £ Awarding any and all other damages permitted by the Lanham
              23                    Act, including compensation for damage to the value of North
              24                    Atlantic's ZIG-ZAGS and NAOC~ Trademarks, and ZIG-
              25                    ZAGS Orange Trade Dress; to North Atlantic's reputation
              26                    among U.S. consumers; to the goodwill associated with the
              27                    ZIG-ZAGS and NAOCOO Trademarks,ZIG-ZAGS Orange
              28                    Trade DRESS, and brands; and other damages in an amount not

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            Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 36 of 72 Page ID #:46




                  1                       yet known, but to be proved at trial;
                 2                    g. Awarding North Atlantic damages to the full extent provided by
                 3                       California state law;
                 4                    h. Awarding North Atlantic its costs of suit, including reasonable
                 5                       attorneys' fees; and
                 6                    i. Awarding such other and further relief as this Court deems just
                 7                       and proper.
                 8                             DEMAND FOR JURY TRIAL
                 9           North Atlantic hereby demands a trial by jury on all claims and issues so
                 10   triable.

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                 18                                    Melissa C. McLaughlin(SBN 273619)
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                 25                                    New York, NY 10020
                                                       Telephone: 212 307-5500
                 26                                    Facsimile: 212 307-5598
                 27                                    Attorneysfor Plaintiffs
                                                       NoYth Atlantic Operating Company,Inc.
                 28                                    and National Tobacco Company, L.P.

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                                                                                                COMPLAINT
    Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 37 of 72 Page ID #:47




 From:                     TMOfficialNotices@USPTO.GOV
 Sent:                     Thursday, September 4, 2014 11:01 PM
 To:                       trademark@proskauer.com
 Subject:                  Official USPTO Notice of Acceptance and Renewal Sections 8 and 9: U.S. Trademark RN 0610530: ZIGZAG (Stylized/Design): DockeVReference
                           No. 16389-009

 Serial Number: 71645385
 Registration Number: 0610530
 Registration Date: Aug 16, 1955
 Mark: ZIG ZAG (Stylized/Design)
 Owner: BOLLORE


                                                                                 Sep 4, 2014

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.


                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
 The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

 The registration will remain in force for the classes) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
 an order of the Commissioner for Trademarks or a Federel Court.

Class(es):
008




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500



                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

"'The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.`""

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=71645385. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.




                                                                               EXHIBIT 1
                                                                                Page 35
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 38 of 72 Page ID #:48




           Int. CI.: 34
           Prior U.S. Cl.: 8
                                                                         Reg. No. 610,530
           United States Patent and Trademark Office              Registered Aug, is, 1955
           10 Year Renewal                              Renewal Term $eglns Aug. 16, 1995


                                       TRADEMARK
                                    PRINCIPAL REGISTER




           BOLLORE TECHNOLOGIES (FRANCE               FOR: CIGARET`1'E PAPER, iN CLASS
            CORPORATION)                           8 (INT. CL. 34).
           ODET 2950Q ERGUE GAHERIC                   FIRST USE 8-14-1901; iN COMMERCE
           COMMUNE      D'ERGUE    GADERIC,        5-14-1901.
             FRANCE,     AY     ASSIGNMENT,
            CHANGE OfNAME, MERGER AND                SER. N4. 71-645,385, PIL,EA 4-l6-1953.
             CHANGE aF NAMB FROM BRAUN-
             STEIN FRERES, INCORPORATED
            (DELAWARE CORPORATION) NEW
             YORK, NY

             OWNER OF U.S. RL'G. NO. 76,736.




                          In testimony whereof I have hereunto set my hand
                          and caused the seal of The Patent and Trademark
                          Offrce to be affixed on Oct. 17, 1995.




                          COMMISSIONER OF PATENTS AND TRADEMARKS.


                                               EXHIBIT 1
                                                Page 36
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 39 of 72 Page ID #:49




                                          Amendment
           Registered August 16, 1955                         Registration No. 610,530
                                 Braunstein Freres, Incorporated
               Application to amend having been made by Papeteries Braunstein, owner
           of the registration above identified, the drawing is amended to appear as
           follows




               Such amendment has been entered upon the records of the Patent and
           Trademark Office and the said original registration should be read as so
           amended.
               Signed and sealed this 21st day of February 1978.




           ~BEAL~




 c


           Attest
           ~TANIE C00g8EY~                                       LIITRELLE F. PARSER
           attesting Officer.                                           Commissioner.




                                          EXHIBIT 1
                                           Page 37
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 40 of 72 Page ID #:50




          United States Patent Office                                                                      610,530
                                                                                       Registered Aug. 16, 1955


                                           PRINCIPAL REGISTER
                                                Trademark

                                               9or. No.645,385,Sled Apr. 16,1953




                                                     Y



         Brnunstein Freres, Incorporated (Delaware corporation)      For: CIGARETTE PAPER, in CLASS 8.
         21 W. 18th St.                                              First used Aug. 14, 1901, and in commerce Aug, 14,
         New Yark, N. Y.                                           1901.
                                                                     Owner of the trademark shown in Reg, No. 76,736
                                                                  (cxPired)•




                                                         EXHIBIT 1
                                                          Page 38
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 41 of 72 Page ID #:51




          United States Patent Office                                                                        s~o,s3o
                                                                                         Registered Aug. 16, 1955


                                            PRINCIPAL KEGISTER
                                                 Trademark

                                                Ser. No. 645,385, filed Apr. 16, 1953




          Braunstein Freres, Incorporated (Delaware corporation)       For: CIGARETTE PAPER, in CLASS 8.
          21 W. 18th St.                                               First used Aug. 14, 1901, and in commerce Aug. 14,
          New York, N. Y.                                            1901.
                                                                       Owner of the trademark shown in Reg. No. 76,736
                                                                    (expired).




                                                         EXHIBIT 1
                                                          Page 39
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 42 of 72 Page ID #:52




                                                 Amendment
                 Registered August 16, 1955                         Registration No. 610,530
                                       Braunstein Freres, Incorporated
                     Application to amend having been made by Papeteries Braunstein, owner
                 of the registration above identified, the drawing is amended to appear as
                 follows




                     Such amendment.has been entered upon the records of the Patent and
                 Trademark Office and the said original registration should be read as so
                 amended.
                     Signed and sealed this 21st day of February 1978.




                 ~BEAL~




                Attest
                JAx~ Cooss~r,                                         L~ELL~ F. Paa~~,
                attesting Officer.                                        Co~nmissianer.




                                              EXHIBIT 1
                                               Page 40
   Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 43 of 72 Page ID #:53




                                                NOTICE OF ACCEPTANCE OF §8
                                                DECLARATION AND §9 RENEWAL
                                                MAILING DATE: Jan 4, 2010



The declaration and renewal application filed in connection with the registration identified below meets the requirements of Sections 8 and 9 of the
Trademark Act, 15 U.S.C. §§1058 and 1059. The declaration is accepted and renewal is granted. The registration remains in force.

 For further information about this notice, visit our website at: http://www.uspto.gov. To review information regarding the referenced registration, go to
 http://ta rr. uspto.gov.

I REG NUMBER:                    1127946
' MARK:                          ZIG ZAG
D OWNER:                         B~LLORE


Side - 2   _                __
! UNITED STATES PATENT AND TRADEMARK OFFICE
  COMMISSIONER FOR TRADEMARKS
                                                                                                                                FIRST-CLASS MAIL
  P.O. BOX 1451                                                                                                                   U.S POSTAGE
i ALEXANDRIA, VA 22313-1451                                                                                                 ~         PAID




                                                      Jenifer deWolf Paine
                                                      PROSKAUER ROSE LLP
                                                      Trademark File Room
                                                      1585 Broadway
                                                      NEW YORK, NY 10036-8299




                                                                     EXHIBIT 1
                                                                       Page 41
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 44 of 72 Page ID #:54




          Int. Cl.: 34
          U.S. Cl.: 8
                                                                                            Reg. No. 1,127,946
          U.S. Patent and Trademark Office                                                       Reg. nee. ie, 1979

                                                      TRADEMARK
                                                      Principal Register



                                                        ZIG ZAG

         Papeteries Braunstein (France corporation)
                                                                  For: Cigarette Papers —in Class 34. (L7.S. Cl. 8).
         83, Boulevard Exelmans
                                                                  First use Mar. 1903; in commerce Maz. 1903.
         Paris, France.
                                                                  Owner of U.S. Reg. No. 610,530,

                                                                  Ser. No. 68,676. Filed Nov. 11, 1975.

                                                                HETH CHAPMAN, Examiner




                                                        EXHIBIT 1
                                                         Page 42
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 45 of 72 Page ID #:55




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                                                  ZIG ~,G

      Yayeteaia aracasGein (Frsna rorpontion)              For: Cigarcete Paper --iA C1sv 34.(U.s. q.E}
      83~ F:oukvard F••f~•,•~+                             Fini use MJt.- 1903; in commerce Mir. 19Q3.
      Pvi~, Fence.                                         Owner of U.S. Rea. Na 610.s3~.

                                                           Su. No. 6b,676. Piled tVov. ll. 1473.

                                                        HE'I'~t CHAPAdAN, E:auiloa
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 46 of 72 Page ID #:56




         Int. Cl.: 34
         U.S. Cl.: 8
                                                                                           Reg. No. 1,127,946
         U.S. Patent and Trademark Office                                                            Reg. nee. ~s, 1979



                                                      Principal Register



                                                        ZIG ZAG


         Papeteries Braunstein (France corporation)               For: Cigarette Papers —in Class 34. ([J.S. Cl. S).
         83, Boulevard Exelmans                                   Fvst use Mar. 1903; in commerce Mar. 1903.
         Pans, France.                                            Owner of U.S. Reg. No. 610,530.

                                                                  Set. No. 68,676. Filed Nov. 11, 1975.

                                                                BETH CHAPMAN, Examiner




                                                         EXHIBIT 1
                                                          Page 44
  Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 47 of 72 Page ID #:57




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                   UNITED STATES PATENT AND TRADEMARK OFFICE

                                                                                                              Commissioner for Trademarks
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       ~ti:~
                                                                                                                             P.O. Box 1451
                                                                                                                Alexandria, VA 22313-1451
                                                                                                                             www.uspto.gov


REGISTRATION NO: 2169540    SERIAL NO: 75/304722    MAILING DATE: 10/29/2007
REGISTRATION DATE: 06/30/1998
MARK: MISCELLANEOUS DESIGN
REGISTRATION OWNER: BOLLORE

CORRESPONDENCE ADDRESS:
Jenifer deWolf Paine
Proskauer Rose LLP
Trademark File Room
1585 BROADWAY
N EW YORK NY 10036-8299



                                         NOTICE OF ACCEPTANCE
                                                          15 U.S.C. Sec. 1058(a)(3)

THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION MEETS THE REQUIREMENTS OF SECTION 8 OF
THE TRADEMARK ACT. 15 U.S.C. Sec. 1058.

ACCORDINGLY, THE SECTION S AFFIDAVIT IS ACCEPTED.




                                              NOTICE OF RENEWAL
                                                               15 U.S.C. Sec. 1059(a)

THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION MEETS THE REQUIREMENTS OF SECTION 9 OF
THE TRADEMARK ACT, 15 U.S.C. Sec. 1059.

ACCORDINGLY, THE REGISTRATION IS RENEWED.




THE REGISTRATION WILL REMAIN IN FORCE FOR CLASS(ES):
034.

CONLEY, JOYCE MARIE
PARALEGAL SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500

                                      PLEASE SEE THE REVERSE SIDE OF THIS NOTICE FOR INFORMATION
                                      CONCERNING REQUIREMENTS FOR MAINTAINING THIS REGISTRATION
                                                              ORIGINAL




                                                                 EXHIBIT 1
                                                                  Page 45
   Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 48 of 72 Page ID #:58




REQUIREMENTS FOR MAINTAINING A FEDERAL TRADEMARK REGISTRATION

I)SECTION 8: AFFIDAVIT OF CONTINUED USE

The registration shall remain in force for 10 years, except that the registration shall be canceled for failure to fle an Affidavit of Continued Use under Section 8 of the Trademark
Act, 15 U.S.C. Sec. 1058, at the end of each successive 10-year period following the date of registration.

Failure to file the Section 8 Affidavit will result in the cancellation of the registration.


II) SECTION 9: APPLICATION FOR RENEWAL

The registration shall remain in force for 10 years, subject to the provisions of Section 8, except that the registration shall expire for failure to file an Application for Renewal
under Section 9 of the Trademark Act, 15 U.S.C. Sec. 1059, at the end of each successive 10-year period following the date of registration.

Failure to file the Application for Renewal will result in the expiration of the registration.



NO FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS WILL BE SENT TO THE REGISTRANT BY THE PATENT AND TRADEMARK OFFICE. IT IS
RECOMMENDED THAT THE REGISTRANT CONTACT THE PATENT AND TRADEMARK OFFICE APPROXIMATELY ONE YEAR BEFORE THE EXPIRATION OF THE
TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.




                                                                                  EXHIBIT 1
                                                                                   Page 46
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 49 of 72 Page ID #:59




            Int. Cl.: 34
           Prior U.S. Cls.: 2, S, 9 and 17
                                                                                 Reg. No. 2,169,540
            United States Patent and Trademark Office                             Registered June 30, 1998


                                               TRADEMARK
                                           PRINCIPAL REGISTER




           BOLLORE TECHNOLOC3iES (FRANCE SOCIE-             THE DRAWING CONSISTS OF A FANCIFUL
            TE ANONYME)                                   REPRESENTATION OF A MAN HOLDING A
           ODET 29500 ERGUE GABERIC                       CIGARETTE AND CIGARETTE PAPER PACK-
           COMMUNE D'ERGUE GABERIG, FRANCE                AGE ON WHICH THE WORDS "ZICf ZAG"
                                                          APPEAR.
             FOR: CIC3ARETTE PAPERS, IN CLASS 34
          (U.S. CLS. 2, 8, 9 AND 17).
                                                            SER. NO. 75-304,722, FILED 6-6-1997.
            FIRST USE 4-0-1961; IN COMMERCE
          4-0-1961.
            OWNER OF U.S. REG. NOS. 610,530, 1,127,946,   WILLIAM JACKSON, EXAMININC3 ATTOR-
           AND 1,247,856.                                  NEY




                                                EXHIBIT 1
                                                  Page 47
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 50 of 72 Page ID #:60




          Int. Cl.: 34
          Prior U.S. Cls.: 2, 8, 9 and 17
                                                                               Reg. No. 2,169,540
          United States Patent and Trademark Office                             Registered June 30, ]998


                                              TRADEMARK
                                          PRINCIPAL REGISTER




          BOLLORE TECHNOLOC3IES (FRANCE SOCIE-              THE DRAWING CONSISTS OF A FANCIFUL
           TE ANONYMB)                                    REPRESENTATION OF A MAN HOLDING A
          ODET 29500 ERGUE GABERIC                        CIGARETTE AND C[GARE7TE PAPER PACK-
          COMMUNE D'ERGUE(3ABERIC, FRANCE                 AGfl ON WHICH THE WORD5 "ZI4 ZAG"
                                                          APPEAR.
            FOR: CIGARETTE PAPERS, IN CLASS 34
         (LT.S. CLS. 2, 8, 9 AND 1~.                       SER. NO. 75-304,722, FILED 6-6-1997.
            FIRST USE 4-0-1961; IN COMMERCE
          4--U-1961.
            OWNER OF U.S. REG. NOS. 610,530, 1,127,946,   WILLIAM   JACKSON, EXAMINING            ATTOR-
          AND 1,247,856.                                   NEY




                                                 EXHIBIT 1
                                                   Page 48
   Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 51 of 72 Page ID #:61




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   ' C~~~:> = -   UNITED STATES PATENT AND TRADEMARK OFFICE
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       T ti.:                                                                                                 Commissioner for Trademarks
                                                                                                                             P.O. Box 1451
                                                                                                                Alexandria, VA 22313-1451
                                                                                                                             www.uspto.gov


REGISTRATION NO: 2169549    SERIAL NO: 75/304818    MAILING DATE: 01/08/2008
REGISTRATION DATE: 06/30/1998
MARK: MISCELLANEOUS DESIGN
REGISTRATION OWNER: Bollore

CORRESPONDENCE ADDRESS:
Jenifer deWolf Paine
Proskauer Rose LLP
Trademark File Room
1585 BROADWAY
NEW YORK NY 10036-8299



                                         NOTICE OF ACCEPTANCE
                                                          15 U.S.C. Sec. 1058(a)(3)

THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION MEETS THE REQUIREMENTS OF SECTION S OF
THE TRADEMARK ACT, 15 U.S.C. Sec. 1058.

ACCORDINGLY, THE SECTION S AFFIDAVIT IS ACCEPTED.




                                             NOTICE OF RENEWAL
                                                              15 U.S.C. Sec. 1059(a)

THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION MEETS THE REQUIREMENTS OF SECTION 9 OF
THE TRADEMARK ACT. 15 U.S.C. Sec. 1059.

ACCORDINGLY, THE REGISTRATION IS RENEWED.




THE REGISTRATION WILL REMAIN IN FORCE FOR CLASS(ES):
034.

MA, MACY L
PARALEGAL SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500

                                      PLEASE SEE THE REVERSE SIDE OF THIS NOTICE FOR INFORMATION
                                      CONCERNING REQUIREMENTS FOR MAINTAINING THIS REGISTRATION
                                                              ORIGINAL




                                                                EXHIBIT 1
                                                                 Page 49
    Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 52 of 72 Page ID #:62




REQUIREMENTS FOR MAINTAINING A FEDERAL TRADEMARK REGISTRATION

I)SECTION 8: AFFIDAVIT OF CONTINUED USE

The registration shall remain in force for 10 years, except that the registration shall be canceled for failure to fle an Affidavit of Continued Use under Section B of the Trademark
Act, 15 U.S.C. Sec. 1058, at the end of each successive 10-year period following the date of registration.

Failure to file the Section 8 Affidavit will result in the cancellation of the registration.


II) SECTION 9: APPLICATION FOR RENEWAL

The registration shall remain in force for 10 years, subject to the provisions of Section 8, except that the registration shall expire for failure to file an Application for Renewal
under Section 9 of the Trademark Act, 15 U.S.C. Sec. 1059, at the end of each successive 10-year period following the date of registration.

Failure to file the Application for Renewal will result in the expiration of the registration.



NO FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS WILL BE SENT TO THE REGISTRANT BY THE PATENT AND TRADEMARK OFFICE. IT IS
RECOMMENDED THAT THE REGISTRANT CONTACT THE PATENT AND TRADEMARK OFFICE APPROXIMATELY ONE YEAR BEFORE THE EXPIRATION OF THE
TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.




                                                                                   EXHIBIT 1
                                                                                    Page 50
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 53 of 72 Page ID #:63




       Int. Cl.: 34
       Prior U.S. Cls.: 2, 8, 9 and 17
                                                                            Reg. No. 2,169,549
       United States Patent and Trademark Office                             Registered June 30,   ~~8
                                            TRADEMARK
                                       PRINCIPAL REGISTER




       HOLLORE TECHNOLOGIES (FRANCE SOCIE-               THE DRAWING CONSISTS OF A FANCIFUL
        TE ANONYME)                                    REPRESENTATION OF A MAN HOLDII~IG A
       ODET 29500 ERGUE GAHERIC                        CIGARETTE AND CIGARETTE PAPER PACK-
       COMMUNE D'ERGUE GAHERIC, FRANCE                 AGE ON WHICH THE WORDS "ZIC3 ZAG"
                                                       APPEAR.
         FOR: CIGARETTE PAPERS, IN CLASS 34
      (U.S. CLS. 2, 8, 9 AND 17).
                                                        SER. NO. 75-304,818, FILED 6-6-1997.
         FIRST USE 3-0-1903; IN COMMERCE
       3-0-1903.
         OWNER OF U.S. REG. N05. 610,530, 1,127,946,   WILLIAM JACKSON, EXAMINING ATTOR-
       AND 1,247,856.                                   NEY




                                                   EXHIBIT 1
                                                    Page 51
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 54 of 72 Page ID #:64




          Int. Cl,: 34
          Prior U.S. Cls.: 2, 8,9 and 17
                                                                               Reg. No. 2,169,549
          United States Patent and Trademark Office                              Registered June 30,   ~s~s
                                               TRADEMARK
                                          PRINCIPAL REGISTER




          BOLLORE TECHNOLOGIES (FRANCE SOCIE-               THE DRAWING CONSISTS OF A FANCIFUL
           TH ANONYME)                                    REPRESENTATION OF A MAN HOLDINC3 A
          ODET 29500 ERGUE GAHERIC                        CIGARETTE AND CIGARETTE PAPER PACK-
          COMMUNE D'ERGUB GABERIC, FRANCE                 AGE ON WHICH THE WORDS "Z1G ZAG"
                                                          APPEAR.
            FOR: CIGARETTE PAPERS, IN CLASS 34
         (U.S. CL.S. 2, 8, 9 AND 17).
                                                           SER. NO. 75-304,818, FILED 6-6-1997.
            FIRST USE 3-0-1903; IN COMMERCE
          3-0-1903.
            OWNER OF U.S. REG. NOS. 610,530, 1,127,946,   WILLIAM   JACKSON, EXAMINING            A'ITOR-
          AND 1,247,856.                                   NEY




                                                 EXHIBIT 1
                                                  Page 52
    Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 55 of 72 Page ID #:65



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Monday, January 23, 2012 11:02 PM
To:                        aberge~bgdlegal.com
Subject:                   Trademark RN 2664694: Official Notice of Acceptance and Renewal under Sections 8 and 9 of the Trademark Act

Serial Number: 78092298
Registration Number: 2664694
Registration Date: Dec 17, 2002
Mark: NORTH ATLANTIC OPERATING COMPANY, INC.(STYLIZED/DESIGN)
Owner: North Atlantic Operating Company, Inc.



                                                                                 Jan 23, 2012

                                                        NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.


                                               NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the classes) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
035




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500



                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

""`The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
 YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.""`

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search action?sn=78092298. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.




                                                                              EXHIBIT 2
                                                                               Page 53
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 56 of 72 Page ID #:66




      Int. Cl.: 35
      Prior U.S. Cls.: 100, 101, and 102
                                                                                  Reg. No. 2,664,694
      United States Patent and Trademark Office                                     Registered Dec.   i~, zooz

                                           SERVICE MARK
                                         PRINCII'AL REGISTER




                                     North Atlantis Qperating
                                     Comp~n~,inc.
                             -~+ ..-

      NORTH ATLANTIC OPERATING COMPANY,                    NO CLAIM IS MADE TO THE EXCLUSIVE
         INC.(DELAWARE CORPORAT101~                      RIGHT TO USE "OPERATING COMPANY, INC.",
      257 PARK AVENUE SOUTH SEVENTH FLOOR                APART FROM THE MARK AS SHOWN.
      NEW YORK,NY 10010

        FOR: DISTRIBUTORSHIPS IN THE FIELD OF
      TOBACCO PRODUCTS AND SMOKERS ACCES-                 SN 78-092,298, FII,ID 11-8-2001.
      SORIES,IN CLASS 35 (U.S. CLS. 100, t01 AND 102).

        FIRST USE 1-7-2002; IN CaMMERCE I-7-7A02:        ARETHA MAS'TERSON,EXAMINING ATTORNEY




                                                     EXHIBIT 2
                                                      Page 54
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 57 of 72 Page ID #:67




         Int. Cl.: 35
         Prior U.S. Cls.: 140, 101, and 102
                                                                                    Reg. No. 2,664,694
         United States Patent and Trademark Office                                    Registered Dec. 17,   Zoo2

                                              SERVICE MARK
                                           PRINCIPAL REGISTER



                             ~~~~~~
                                        North Atlantic Operating
                                        Company, InG.
                                  ~..-

         NORTH ATLANTIC OPERATING COMPANY,                    NO CLAIM IS MADE TO THE EXCLUSIVE
            INC.(DELAWARE CORPORATION)                      RIGHT TO USE "OPERATING COMPANY, 11~C.",
         257 PARK AVENUE SOUTH,SEVENTH FLOOR                APART FROM THE MARK AS SHOWN.
         NEW YORK, NY 10010

           FOR: DISTRIBUTORSHIPS IN THE FIELD OF
                                                             SN 78-092,298, FILED 11-8-2001.
         TOBACCO PRODUCTS AND SMOKERS ACCES-
         SORIES,IN CLASS 35 (U.S. CLS. 100, 101 AND 102).

           FIRST USE 1-7-2002; IN COMMERCE 1-7-2002.        ARETHA MASTERSON,EXAMINING ATTORNEY




                                                   EXHIBIT 2
                                                    Page 55
    Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 58 of 72 Page ID #:68




From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Thursday, April 5, 2012 11:02 PM
To:                        bchellgren@bgdlegal.com
Subject:                   Trademark RN 2664695: O~cial Notice of Acceptance and Renewal under Sections 8 and 9 of the Trademark Act

Serial Number: 78092299
Registration Number: 2664695
Registration Date: Dec 17, 2002
Mark: NORTH ATLANTIC OPERATING COMPANY, INC.(STYLIZED/DESIGN)
Owner: North Atlantic Operating Company, Inc.


                                                                                 Apr 5, 2012

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
B declaration is accepted.


                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application fled for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the classes) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federel Court.

Class(es►:
034




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500


                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must fle a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

"""The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.'""

To view this notice and other documents for this application on-line, go to http:!/tdr.uspto.gov/search.action?sn=78092299. NOTE: This notice will only be available on-line the
next business day after receipt oT this e-mail.




                                                                               EXHIBIT 2
                                                                                Page 56
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 59 of 72 Page ID #:69




      Int Cl.: 34
      Prior U.S. Cis.: 2, 8, 9, and 17
                                                                               Reg. No. 2,664,695
      United States Patent and Trademark Office                                                   ,zooz
                                                                                 Registered Dec. 17


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                                    North Atlantic Qperating
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      NORTH ATLANTIC OPERATING COMPANY,                 F'[RST U5E 1-7-2002; IN COMMERCE 1-7-2002.
         INC.(DELAWARE CORPORATION)
      257 PARK AVENUE SOUTH,SEVENTH FLOOR
      NEW YORK,NY 10010                                  N0 CLAIM IS MADE TO THE EXCLUSIVE
                                                       RIGHT TO USE "OPERATING COMPANY, INC.",
        FOR: SMOKING TOBACCO, CIGARETTE PA-            APART FROM THE MARK AS SHOWN.
      PERS, CIGARETTE TUBES, LIGHTERS NOT OF
      PRECIOUS METAL, CIGARETTE ROLLING MA-             SN 78-092,299, FILED I1-8-2001.
      CHINES, CIGARETTE INJECTION MACHINES, CI-
      GARETTES, CIGARS,IN CLASS 34(U.S. CLS. 2, 8, 9
      AND 17).                                         ARETHA MASTERSON,EXAMINING ATTORNEY




                                                   EXHIBIT 2
                                                    Page 57
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 60 of 72 Page ID #:70




         Int. Cl.: 34
         Prior U.S. Cls.: 2, 8, 9, and 17
                                                                                     Reg. No. 2,664,695
         United States Patent and Trademark Office                                     Registered Dec. 17,   Zoo2

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                                         North Atlantic Operating
                                         Company, lnc.

         NORTH ATLANTIC OPERATING COMPANY,                    FIRST USE 1-7-2002; IN COMMERCE 1-7-2002.
           INC.(DELAWARE CORPORATION)
         257 PARK AVENUE SOUTH,SEVENTH FLOOR
         NEW YORK, NY 10010                                    ISO CLAIM IS MADE TO THE EXCLUSIVE
                                                             RIGHT TO USE "OPERATING COMPANY, II~C.",
           FOR: SMOKING TOBACCO, CIGARETTE PA-               APART FROM THE MARK AS SHOWN.
         PERS, CIGARETTE TUBES, LIGHTERS NOT OF
         PRECIOUS METAL, CIGARETTE ROLLING MA-                SN 78-092,299, FILED 11-8-2001.
         CHINES, CIGARETTE INJECTION MACHINES, CI-
         GARET"I'ES, CIGARS,IN CLASS 34 (U.S. CLS. 2, S, 9
         AND 17).                                            ARETHA MASTERSON,EXAMII~TING ATTORNEY




                                                    EXHIBIT 2
                                                     Page 58
    Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 61 of 72 Page ID #:71




From:                      TMOffcialNotices@USPTO.GOV
Sent:                      Saturday, March 24, 2012 11:04 PM
To:                        bchellgren@bgdlegal.com
Subject:                   Trademark RN 2610473: Official Notice of Acceptance and Renewal under Sections 8 and 9 of the Trademark Act

Serial Number: 76115213
Registration Number: 2610473
Registration Date: Aug 20, 2002
Mark: NORTH ATLANTIC OPERATING COMPANY
Owner; North Atlantic Operating Company, Inc.


                                                                                 Mar 24, 2012

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse fled for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.


                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the classes) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
034




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500



                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

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registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

""'The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES."'

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action7sn=76115213. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.




                                                                               EXHIBIT 2
                                                                                Page 59
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 62 of 72 Page ID #:72




             Int CL: 34
             Prior U.S. Cls.: 2, 8, 9, and 17                                        Reg. No. 2,610,473
             United States Patent and Trademark Office                                Registered Aug. 20, zoo2


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                                              PRINCIPAL REGISTER



                             NORTH ATLANTIC OPERATING COMPANY



             NORTH ATLANTIC OPERATING COMPANY,                 FIRST USE 11-1-1997; IN COMMERCE 11-1-1997.
               INC.(DELAWARE CORPORATI02~
             257 PARK AVENUE SOUTH,7T!-I FLOOR
                                                                NO CLAIM IS MADE TO THE EXCLUSIVE
             NEW YORK, NY 10010                               R1GH'I'TO USE"OPERATING COMPANY",APART
                                                              FROM THE MARK AS SHOWN.
               FOR: SMOKING TOBACCO, CIGARETTE PA-
             PERS, CIGARETTE TUBES, LIGH"I'ERS NOT OF
             PRECIOUS METAL, CIGARETTE ROLLING MA-             SN 76-115,213, FILED 5-242A00.
             CHINES, CIGARETTE INIECI'ION MACHINES, CI-
             GARETTES, CIGARS,IN CLASS 34(U.S. CLS. 2, 8, 9
             AND 17).                                         KAREN K. BUSH,EXAMINING ATTORNEY




                                               EXHIBIT 2
                                                Page 60
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 63 of 72 Page ID #:73




         Int. CL: 34
         Prior U.S. Cls.: 2, 8, 9, and 17
                                                                                     Reg. No. 2,610,473
         United States Patent and Trademark Office                                    Registered Aug. 20,   Zooa

                                                TRADEMARK
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                          NORTH ATLANTIC OPERATING COMPANY



         NORTH ATLANTIC OPERATING COMPANY,                   FIRST USE 11-1-1997; IN COMMERCE ]1-1-1997.
           INC.(DELAWARE CORPORATION)
         257 PARK AVENUE SOUTH,7TH FLOOR
         NEW YORK, NY 10010                                   K~O CLAIM IS MADE TO THE EXCLUSIVE
                                                            RIGHT TO USE "OPERATING COMPANY", APART
           FOR: SMOKING TOBACCO, CIGARETTE PA-              FROM THE MARK AS SHOWN.
         PERS, CIGARETTE TUBES, LIGHTERS NOT OF
         PRECIOUS METAL, CIGARETTE ROLLING MA-               SIV 76-11 ,213, FILED 8-24-2000.
         CHINES, CIGARETTE II~'JECTIOK MACHINES, CI-
         GARETTES, CIGARS, IN CLASS 34 (U.S. CLS. 2, 8, 9
         AND 17).                                           KAREN K. BUSH,EXAMINING ATTORNEY




                                                   EXHIBIT 2
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   Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 64 of 72 Page ID #:74




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The declaration and renewal application filed in connection with the registration identified below meets the requirements of Sections 8 and 9 of the
Trademark Act, 15 U.S.C. §§1058 and 1059. The declaration is accepted and renewal is granted. The registration remains in force.

 For further information about this notice, visit our website at: http://www.uspto.gov. To review information regarding the referenced registration, go to',


REG NUMBER:                     2635446
MARK:                           NORTH ATLANTIC OPERATING COMPANY
OWNER:                          North Atlantic Operating Company, Inc.

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i UNITED STATES PATENT AND TRADEMARK OFFICE
    COMMISSIONER FOR TRADEMARKS
'~, P.O. BOX 1451
    ALEXANDRIA, VA 22313-1451




                                                      Amy B. Berge
                                                      GREENEBAUM DOLL & MCDONALD PLLC
                                                      101 SOUTH FIFTH STREET
                                                      3500 NATIONAL CITY TOWER
                                                      LOUISVILLE, KY 40202




                                                                     EXHIBIT 2
                                                                       Page 62
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 65 of 72 Page ID #:75




      Int. Cl.: 35
      Prior U.S. Cls.: 100, 101 and 102
                                                                                  Reg. No. 2,635,446
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      NORTH ATLANTIC OPERATING COMPANY,                     NO CLAIM IS MADE TO THE EXCLUSIVE
         INC.(DELAWARE CORPORATION)                       RIGHT TO USE "OPERATING COMPANY", APART
      257 PARK AVENUE SOUTH,SEVENTH FLOOR                 FROM THE MARK AS SHOWN.
      NEW YORK,NY 10010

        FOR: DISTRIBUTORSHIPS IN THE FIELD OF              SER. NO. 78-091,719, FILED ]1-5-2001.
      TOBACCO PRODUCTS AND SMOKERS ACCES-
      SORIES,IN CLASS 35(U.S. CLS. 100, 101 AlyD l02).

        FIRST USE I1-1-1997; IN COMMERCE 11-1-1997.      PRISCILLA MILTON,EXAMINING ATTORNEY




                                                      EXHIBIT 2
                                                         Page 63
Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 66 of 72 Page ID #:76




         Int. Cl.: 35
         Prior U.S. Cls.: 100, 101 and 102
                                                                                    Reg. No. 2,635,446
         United States Patent and Trademark Office                                    Registered Oct. 15,   aooa

                                              SERVICE MARK
                                           PRINCIPAL REGISTER



                          NORTH ATLANTIC OPERATING COMPANY



         NORTH ATLANTIC OPERATING COMPANY,                    NO CLAIM IS MADE TO THE EXCLUSIVE
            INC.(DELAWARE CORPORATION)                      RIGHT TO USE "OPERATING COMPANY", APART
         2~7 PARK AVENUE SOUTH, SEVENTH FLOOR               FROM THE MARK AS SHOWN.
         NEW YORK, NY 10010

           FOR: DISTRIBUTORSHIPS IN THE FIELD OF
         TOBACCO PRODUCTS AND SMOKERS ACCES-                 SER. NO. 78-091,719, FILED 11-5-2001.
         SORIES, IN CLASS 35 (U.S CLS. 100, 101 AND 102).

           FIRST USE 11-1-1997: IN COb1MERCE I1-1-1997      PRISCILLA MILTON,EXAMINING ATTORNEY




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         Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 68 of 72 Page ID #:78


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Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 69 of 72 Page ID #:79




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Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 70 of 72 Page ID #:80




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Case 2:17-cv-05920-VAP-AFM Document 3 Filed 08/10/17 Page 72 of 72 Page ID #:82




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